             Case 1:12-cr-00398-TSE Document 64 Filed 02/03/20 Page 1 of 1 PageID# 459


AO 442 (Rev. 01/09) Arrest Warrant



                                        United States District Court
                                                                  for the

                                                      Eastern District of Virginia
                                                                                            I I ||Y.J
                  United States of America
                                 V.


              JESUS CONTRERAS-ARCEO                                         Case No. 1:12-cr-398
                   a/k/a "Canasto"

                                                                                                                                 ill .
                            Defendant                                                                       FEB -:J3 2020
                                                      ARREST WARRANT
                                                                                                L

To:      Any authorized law enforcement officer


         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)       JESUS CONTRERAS-ARCEO a/k/a "Canasto"                                                               ,
who is accused of an offense or violation based on the following document filed with the court:

S?f Indictment           □ Superseding Indictment          □ Information       □ Superseding Information             □ Complaint
□ Probation Violation Petition              □ Supervised Release Violation Petition      □ Violation Notice          □ Order of the Court

This offense is briefly described as follows:
Conspiracy to manufacture methamphetamine for importation, a Schedule I controlled substance, in violation of Title 21,
United States Code, Sections 963 and 959(a) and Conspiracy to commit money laundering.




Date:         3
                                                                                          Isstim g officer's signature


City and state:     Alexandria, VA                                                                  IsFirhrOi
                                                                                            Printed name and title         I


                                                                  Return


         This warrant was received on (date)                           , and the person was arrested on (date)
at (city and state) UlLL^I                                    .

Date: °^/ol/-7tv-Zn/
                                                                                         Arresung          s^fgnature

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                                                                                            Printed name and title
